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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

ABRIELLE LONDO,                               )
                                              )               Case No.: 2:20-cv-53
               Plaintiff,                     )
                                              )               U.S. District Judge:
       v.                                     )               Hon. Paul L. Maloney
                                              )
ENRIGHT FAMILY RESTAURANTS,                   )               U.S. Magistrate Judge:
INC., et al.,                                 )               Hon. Maarten Vermaat
                                              )
               Defendants.                    )
                                              )

               STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       NOW COME the parties, by and through their respective counsel, and hereby stipulate to

the dismissal of the above-captioned case, with prejudice. Said dismissal shall be without

assessment of costs and all parties shall bear their own attorney fees.


       IT IS SO ORDERED.


Dated: ____________                                           ________________________




Approved as to form and substance:


       s/ Sandra Hanshaw Burink                              s/ Phillip B. Toutant
_____________________________                         _________________________
SANDRA HANSHAW BURINK (P68619)                        PHILLIP B. TOUTANT (P72992)
Attorney for Plaintiff                                Attorney for Defendants
